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                              Exhibit 15
        State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                          Abbott Laboratories, Inc., et al.

             Exhibit to the Declaration of Nicholas N. Paul in Support of
 Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
                              Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 2 of 13
                                                             DEY




                                        AWP vs But‐For Price
                      35.00



                      30.00



                      25.00
Dollars per Package




                      20.00

                                                                                                    Reported AWP
                      15.00
                                                                                                    But‐for Price

                      10.00



                       5.00



                       0.00




                                           METOPROTERENOL
                                           NDC 49502067603
                              Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 3 of 13
                                                             DEY




                      80.00
                                           AWP vs But‐For Price
                      70.00


                      60.00


                      50.00
Dollars per Package




                      40.00
                                                                                                    Reported AWP
                      30.00                                                                         But‐for Price

                      20.00


                      10.00


                       0.00




                                                ALBUTEROL
                                              NDC 49502069760
                             Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 4 of 13
                                                            DEY




                                          AWP vs But‐For Price
                     90.00


                     80.00


                     70.00


                     60.00
Dollar per Package




                     50.00


                     40.00                                                                         Reported AWP
                                                                                                   But‐for Price
                     30.00


                     20.00


                     10.00


                      0.00




                                                CROMOLYN
                                              NDC 49502068912
                               Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 5 of 13
                                                              DEY




                                                    AWP vs But‐For Price
                      120.00



                      100.00



                       80.00
Dollars per Package




                       60.00
                                                                                                     Reported AWP
                                                                                                     But‐for Price
                       40.00



                       20.00



                        0.00




                                               IPRATROPIUM
                                              NDC 49502068560
                               Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 6 of 13
                                                            MYLAN




                                         AWP vs But‐For Price
                      450.00


                      400.00


                      350.00


                      300.00
Dollars per Package




                      250.00
                                                                                                     Reported AWP
                      200.00
                                                                                                     But‐for Price
                      150.00


                      100.00


                       50.00


                        0.00




                                             INDOMETHACIN
                                            NDC 00378014310
                              Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 7 of 13
                                                           MYLAN




                                        AWP vs But‐For Price
                      60.00



                      50.00



                      40.00
Dollars per Package




                      30.00                                                                         Reported AWP
                                                                                                    But‐for Price
                      20.00



                      10.00



                       0.00




                                             METOPROLOL
                                            NDC 00378003201
                               Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 8 of 13
                                                            MYLAN




                                            AWP vs But‐For Price
                      120.00



                      100.00



                       80.00
Dollars per Package




                       60.00
                                                                                                     Reported AWP
                                                                                                     But‐for Price
                       40.00



                       20.00



                        0.00




                                                 VERAPAMIL
                                               NDC 00378112001
                               Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 9 of 13
                                                            MYLAN




                                            AWP vs But‐For Price
                      100.00

                       90.00

                       80.00

                       70.00
Dollars per Package




                       60.00

                       50.00                                                                         Reported AWP

                       40.00                                                                         But‐for Price

                       30.00
                       30 00

                       20.00

                       10.00

                        0.00




                                                 DILTIAZEM
                                               NDC 00378522001
                              Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 10 of 13
                                                           SANDOZ




                                         AWP vs But‐For Price
                      80.00


                      70.00


                      60.00


                      50.00
Dollars per Package




                      40.00
                                                                                                     Reported AWP

                      30.00                                                                          But‐for Price

                      20.00


                      10.00


                       0.00




                                              TRAZODONE
                                            NDC 00781180801
                               Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 11 of 13
                                                            SANDOZ



                                          AWP vs But‐For Price
                      300.00



                      250.00



                      200.00
Dollars per Package




                      150.00
                                                                                                      Reported AWP
                                                                                                      But‐for Price
                      100.00



                       50.00



                        0.00




                                                CIMETIDINE
                                              NDC 00781144401
                              Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 12 of 13
                                                           SANDOZ




                                            AWP vs But‐For Price
                      80.00


                      70.00


                      60.00
Dollars per Package




                      50.00

                                                                                                     Reported AWP
                      40.00
                                                                                                     But‐for Price
                      30.00


                      20.00


                      10.00


                       0.00




                                                TEMAZEPAM
                                              NCDC 00781220101
                               Case 1:01-cv-12257-PBS Document 6791-16 Filed 12/21/09 Page 13 of 13
                                                            SANDOZ




                                          AWP vs But‐For Price
                      140.00



                      120.00



                      100.00
Dollars per Package




                       80.00

                                                                                                      Reported AWP
                       60.00
                                                                                                      But‐for Price

                       40.00



                       20.00



                        0.00




                                               AZATHIOPRINE
                                              NDC 00781105901
